                            UNITED STATES DISTRICT COURT

                            MIDDLE DISTRICT OF LOUISIANA


JOSEPH LEWIS, JR., ET AL.                                             CIVIL ACTION

VERSUS                                                                NO. 15-318-SDD-RLB

BURL CAIN, WARDEN OF THE
LOUISIANA STATE PENITENTIARY, IN
HIS OFFICIAL CAPACITY, ET AL.


                                             ORDER

       This matter is before the Court on a Motion to Continue Post-Trial Settlement

Conference (R. Doc. 583). Considering the current national emergency relating to COVID-19,

the Motion is GRANTED. The settlement conference set for April 14, 2020 is CANCELLED.

A telephone conference is set for April 21, 2020 at 11:00 a.m. Attorney Randal J. Robert,

counsel for defendants, and attorney Mercedes Montagnes, counsel for plaintiff, shall participate

in the telephone conference. Attorney Randal J. Robert shall initiate the call to all parties then

contact the Court at (225) 389-3602 once both attorneys are on the line.

       Signed in Baton Rouge, Louisiana, on April 1, 2020.




                                              S
                                              RICHARD L. BOURGEOIS, JR.
                                              UNITED STATES MAGISTRATE JUDGE
